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AO 245B (Rev. 06/05) Sheet 1 - Judgment in a Criminal Case




                                           United States District Court
                                                             District of Minnesota

            UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                         v.                                                  Case Number: CR 10-159 DWF/FLN
                Barry Vincent Ardolf                                         USM Number: 15221-041
                                                                             Social Security Number: XXX-XX-9499
                                                                             Date of Birth: 1965

                                                                             Barry Vincent Ardolf, Pro Se, Kevin O'Brien, Stand-by Counsel
                                                                             Defendant’s Attorney

THE DEFENDANT:
[X]       pleaded guilty to count(s): 1-6 of the Indictment.
[]        pleaded nolo contendere to counts(s) which was accepted by the court .
[]        was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:                                              Offense
Title & Section                 Nature of Offense                                                   Ended                  Count
Title 18 § 1030(a)(2) and                Unauthorized Access to a Protected Computer                February 22, 2009      1
(c)(2)(B)(ii)
Title 18 § 1028A(a)(1)                   Aggravated Identity Theft                                  March 8, 2009          2-3
Title 18 § 2252(a)(4)(B) and             Possession of Child Pornography                            July 21, 2009          4
(b)(2)
Title 18 § 2252(a)(1) and (b)(1)         Transmission of Child Pornography                          February 22, 2009      5
Title 18 § 871(a)                        Threats to the President and Successors                    May 6, 2009            6
                                         to the Presidency

        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on counts(s) .
[]        Count(s) (is)(are) dismissed on the motion of the United States.

        The Special Assessment in the amount of $600.00 shall be paid in full immediately. If the defendant has not paid
the Special Assessment fee, the monies shall be deducted from any wages earned while incarcerated.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.
                                                                                                      July 12, 2011
                                                                                             Date of Imposition of Judgment

                                                                                                     s/Donovan W. Frank
                                                                                                      Signature of Judge

                                                                                DONOVAN W. FRANK, United States District Judge
                                                                                         Name & Title of Judge

                                                                                                         July 15, 2011
                                                                                                             Date



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AO 245B (Rev. 06/05) Sheet 2 - Imprisonment
DEFENDANT:                    BARRY VINCENT ARDOLF
CASE NUMBER:                  CR 10-159 DWF/FLN


                                                              IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 216 months. This term consists of 60 months on each of Counts 1 and 6; 120 months on Count 4; and
192 months on Count 5, to be served concurrently. Also 24 months on each of counts 2 and 3, to be served
concurrently with each other but consecutively to the terms imposed on Counts 1, 4, 5 and 6.




[X]      The court makes the following recommendations to the Bureau of Prisons:
         That the defendant be designated to the FCI Sandstone or the FPC Duluth facility in Minnesota to be close
to his family, or in the alternative, as close to Minnesota as possible. The defendant shall have no internet access of
any kind on any device. Further, due to the nature of his crime it is recommended that the defendant not be
allowed to participate in any computer or computer related technical training during his incarceration.

[X]       The defendant is remanded to the custody of the United States Marshal.


[]        The defendant shall surrender to the United States Marshal for this district.
          [] at on .
          [] as notified by the United States Marshal.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          [] before on .
          [] as notified by the United States Marshal.
          [] as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                     to

a                                           , with a certified copy of this judgment.




                                                                                                     United States Marshal



                                                                                          By
                                                                                                  Deputy United States Marshal




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AO 245B (Rev. 06/05) Sheet 3 - Supervised Release
DEFENDANT:                     BARRY VINCENT ARDOLF
CASE NUMBER:                   CR 10-159 DWF/FLN
                                                     SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 20 years. This terms
consists of 1 year on each of Counts 2 and 3; 3 years on each of Counts 1 and 6; 10 years on Count 4; and 20 years
on Count 5, all to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

[X]       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

[X]       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
          applicable.)

[X]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[X]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
          is a student, as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this Judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions on
the attached page.
                                   STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
      month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
      reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
      or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
      unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court; and
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
      or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
      compliance with such notification requirement.




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AO 245B (Rev. 06/05) Sheet 3A - Supervised Release
DEFENDANT:                    BARRY VINCENT ARDOLF
CASE NUMBER:                  CR 10-159 DWF/FLN


                                     SPECIAL CONDITIONS OF SUPERVISION


a     The defendant shall not commit any crimes, federal, state, or local.

b     The defendant shall abide by the standard conditions of supervised release recommended by the Sentencing
      Commission.

c     The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.

d     The defendant shall abstain from the use of alcohol and other intoxicants and not frequent establishments whose
      primary business is the sale of alcoholic beverages.

e     The defendant shall participate in a program for substance abuse as approved by the probation officer. That program
      may include testing and inpatient or outpatient treatment, counseling, or a support group.

f     The defendant shall provide the probation officer access to any requested financial information, including credit
      reports, credit card bills, bank statements, and telephone bills.

g     The defendant shall refrain from accessing that matter which relates to the activity in which the defendant was
      engaged in committing the instant offense behavior, namely child pornography.

h     The defendant shall have no contact with the victims (including letters, communication devices, audio, or visual
      devices, visits, or any contact through a third party) without prior consent of the probation officer.

i     The defendant is prohibited from engaging in a computer-related occupation during the term of supervision without
      prior approval from the probation officer.

j     The defendant shall not associate with persons under the age of 18 except in the presence of a responsible adult who
      is aware of the nature of the defendant's background and current offense and who has been approved by the probation
      officer.

k     The defendant shall participate in a psychological/psychiatric counseling or treatment program, as approved by the
      probation officer. Further, defendant shall contribute to the cost of such treatment as determined by the Probation
      Office Co-Payment Program not to exceed the total cost of treatment.

l     The defendant shall register with the state sex offender registration agency in any state where the defendant resides,
      is employed, carries on a vocation, or is a student, as directed by the probation officer. The probation officer will
      provide the state officials with any and all information, including substance abuse and mental health treatment
      records, required by the state sex offender registration agency. The probation officer may direct the defendant to
      report to theat agency personally for additional processing, such as photographing, fingerprinting, and providing a
      blood sample for DNA record.




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m   The defendant shall not possess or use a computer or have access to any on-line service without the prior approval of
    the U.S. Probation Office. The defendant shall identify all computer systems, Internet-capable devices, and similar
    memory and electronic devices to which the defendant has access, and allow installation of a computer and Internet
    monitoring program. Monitoring may include random examinations of computer systems along with Internet,
    electronic and media storage devices under the defendant’s control. The computer system or devices may be
    removed for a more thorough examination, if necessary. The defendant shall contribute to the cost of such
    monitoring services, based on the defendant’s ability to pay, as deemed appropriate by the Probation Office.

n   The defendant shall submit his person, residence, office, vehicle, or an area under the defendant’s control to a search
    conducted by a United States Probation Officer or supervised designee, at a reasonable time and in a reasonable
    manner, based upon reasonable suspicion of contraband or evidence of a supervision violation. The defendant shall
    warn any other residents or third parties that the premises and areas under the defendant’s control may be subject to
    searches pursuant to this condition.

o   If not employed at a regular lawful occupation, as deemed appropriate by the probation officer, the defendant may be
    required to perform up to 20 hours of community service per week until employed. The defendant may also
    participate in training, counseling, daily job search, or other employment-related activities, as directed by the
    probation officer.




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AO 245B (Rev. 06/05) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:                          BARRY VINCENT ARDOLF
CASE NUMBER:                        CR 10-159 DWF/FLN
                                                  CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                   Fine                  Restitution
      Totals:       $600.00                    $10,000                     $0

[]     The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)
       will be entered after such determination.

[]     The defendant shall make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
       §3664(i), all nonfederal victims must be paid before the United States is paid.

                       Name and Address of Payee                                                 **Total Loss                   Restitution                   Priority or
                                                                                                                                 Ordered                      Percentage
  NA




  TOTALS:                                                                                     $0.00                         $0.00                        0.00%
                   Payments are to be made to the Clerk, U.S. District Court, for disbursement to the victim.

[]     Restitution amount ordered pursuant to plea agreement $.

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
       full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options
       on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[X] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            [X] the interest requirement is waived for the [X] fine [] restitution.

            [] the interest requirement for the: [] fine [] restitution is modified as follows:


  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994 but before April
23, 1996




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AO 245B (Rev. 06/05) Sheet 6 - Schedule of Payments
DEFENDANT:                     BARRY VINCENT ARDOLF
CASE NUMBER:                   CR 10-159 DWF/FLN

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A         []         Lump sum payment of $ due immediately, balance due

                     [] not later than , or
                     [] in accordance [] C, [] D, [] E, or [] F below; or

B         []         Payment to begin immediately (may be combined with [] C, [] D, or [] F below); or

C         []         Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g. months or years), to
                     commence (e.g. 30 or 60 days) after the date of this judgment; or

D         []         Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g. months or years), to
                     commence (e.g. 30 or 60 days ) after the release from imprisonment to a term of supervision; or

E         []         Payment during the term of supervised release will commence within (e.g. 30 or 60 days ) after release from
                     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
                     time; or

F         [X]        Special instructions regarding the payment of criminal monetary penalties: The $10,000 fine shall be paid within 3
                     months of the sentencing date (July 12, 2011). Payments are to be made payable to the Clerk, U.S. District
                     Court.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are to be made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[]        Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
          Amount, and corresponding payee, if appropriate:



[]        The defendant shall pay the cost of prosecution.


[]        The defendant shall pay the following court cost(s):


[]        The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7)penalties, and (8) costs, including costs of prosecution and court costs.




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